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Case 2:19-mj-00344-MAT Document5 Filed 07/29/19 Page 1 of 3

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Magistrate Judge Mary Alice Theiler

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, NO. MJ19-0344
Plaintiff, MOTION FOR DETENTION
v.
PAIGE THOMPSON,
Defendant.

 

 

The United States moves for pretrial detention of the Defendant, pursuant to 18

U.S.C. § 3142(e) and (f)

1, Eligibility of Case. This case is eligible for a detention order because this

case involves (check all that apply):

L] Crime of violence (18 U.S.C. § 3156).
C] Crime of Terrorism (18 U.S.C. § 2332b (g)(5)(B)) with a maximum

sentence of ten years or more.

O Crime with a maximum sentence of life imprisonment or death.

oO Drug offense with a maximum sentence of ten years or more.

MOTION FOR DETENTION - |
US. v. PAIGE THOMPSON

UNITED STATES ATTORNEY
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SEATTLE, WASHINGTON 98101
(206) 553-7970
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Case 2:19-mj-00344-MAT Document5 Filed 07/29/19 Page 2 of 3

Felony offense and defendant has two prior convictions in the four
categories above, or two State convictions that would otherwise fall within
these four categories if federal jurisdiction had existed.

Felony offense involving a minor victim other than a crime of violence.

Felony offense, other than a crime of violence, involving possession or use
of a firearm, destructive device (as those terms are defined in 18 U.S.C. §
921), or any other dangerous weapon.

Felony offense other than a crime of violence that involves a failure to
register as a Sex Offender (18 U.S.C. § 2250).

Serious risk the defendant will flee.

Serious risk of obstruction of justice, including intimidation of a
prospective witness or juror.

Reason for Detention. The Court should detain defendant because there

are no conditions of release which will reasonably assure (check one or both):

x
XI
3.

Defendant’s appearance as required.

Safety of any other person and the community.

Rebuttable Presumption. The United States will invoke the rebuttable

presumption against defendant under § 3142(e). The presumption applies because:

O Probable cause to believe defendant committed offense within five years of
release following conviction for.a qualifying offense committed while on
pretrial release.

CL] Probable cause to believe defendant committed drug offense with a
maximum sentence of ten years or more.

L) Probable cause to believe defendant committed a violation of one of the
following offenses: 18 U.S.C. §§ 924(c), 956 (conspiracy to murder or
kidnap), 2332b (act of terrorism), 2332b(g)(5)(B) (crime of terrorism).

MOTION FOR DETENTION - 2 UNITED STATES ATTORNEY
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Case 2:19-mj-00344-MAT Document 5 Filed 07/29/19 Page 3 of 3

C Probable cause to believe defendant committed an offense involving a
victim under the age of 18 under 18 U.S.C. §§1591, 2241, 2242,
2244(a)(1), 2245, 2251, 2251A, 2252(a)(1) through 2252(a)(3),
2252A(a)(1) through 2252A(a)(4), 2260, 2421, 2422, 2423 or 2425.

4, Time for Detention Hearing. The United States requests the Court
conduct the detention hearing:

L) At the initial appearance

After a continuance of _ 2 days (not more than 3)

DATED this 29th day of July, 2019.

Respectfully submitted,

BRIAN T. MORAN
United States Attorney

 

STEVEN MASADA =
Assistant United States Attorney

MOTION FOR DETENTION - 3 UNITED STATES ATTORNEY

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